           IN THE UNITED STATES DISTRICT COURT                       
           FOR THE MIDDLE DISTRICT OF ALABAMA                        
                   NORTHERN DIVISION                                 

BRENT WILLIAM JACOBY, #291 560,  )                                        
                         )                                           
Plaintiff,               )                                           
                         )                                           
v.                       )     CIVIL ACTION NO. 2:19-CV-1067-WHA     
                                )                                    
OFFICER LANIER, et al.,       )                                           
                         )                                           
Defendants.              )                                           

            MEMORANDUM OPINION and ORDER                             
Now pending before the Court is the Plaintiff’s notice of appeal (Doc. 10) which the Court 
construes as containing a motion for leave to appeal in forma pauperis and a motion for certificate 
of appealability. For the reasons that follow, the Court concludes that the Plaintiff’s motions are 
due to be denied.                                                         
28 U.S.C. § 1915(a) provides that “[a]n appeal may not be taken in forma pauperis if the 
trial court certifies in writing that it is not taken in good faith.” In making this determination as to 
good faith, the Court must use an objective standard, such as whether the appeal is “frivolous,” 
Coppedge v. United States, 369 U.S. 438, 445 (1962), or “has no substantive merit,” United States 
v. Bottoson, 644 F.2d 1174, 1176 (5th Cir. Unit B May 1981) (per curiam). Applying these 
standards, the Court is of the opinion, for the reasons as stated in the Order (Doc. 8) overruling the 
Plaintiff’s Objections and the Recommendation of the Magistrate Judge (Doc. 3) which was 
adopted, that the Plaintiff’s appeal is without a legal or factual basis and, accordingly, is frivolous 
and not taken in good faith. See e.g. Rudolph v. Allen, 666 F.2d 519 (11th Cir. 1982). 
Accordingly, it is                                                   
ORDERED that the appeal in this cause is certified, pursuant to 28 U.S.C. § 1915(a), as 
not taken in good faith, and the motion for leave to appeal in forma pauperis and motion for a 
certificate of appealability (Doc. 10) are hereby DENIED.                 
Done, this 22nd day of April 2020.                                   


                        /s/     W. Harold Albritton                                                                
                    W. HAROLD ALBRITTON                              
                    SENIOR UNITED STATES DISTRICT JUDGE              